                                                                              ___ ___ ________________________________
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                                  UNITED STATEs DISTRIC
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                      for the                      District of                            New Jersey

             United States of America
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                                                                           ORDER SETTING CONDITIONS
                                                                                                      d4.!4._-
                                                                                          OF RELEASE
                 RANDY BINDER
                                                                                 Case Number: 12-2547-8(DEA)
                      Defendant

 IT IS ORDERED on this 28TH day of JUNE, 2012 that the release
                                                                      of the defendant is subject to the following
 conditions:
         (1) The defendant must not violate any federal, state or local law while
                                                                                   on release.
        (2) The defendant must cooperate in the collection of a DNA sample if
                                                                                   the collection is authorized by
             42 U.S.C. § 14135a.
        (3) The defendant must immediately advise the court, defense counse
                                                                                l, and the U.S. attorney in writing before
             any change in address and/or telephone number.
        (4) The defendant must appear in court as required and must surrend
                                                                                er to serve any sentence imposed.
                                                         Release on Bond
Bail be fixed at $   /&,, OOO                  and the defendant shall be released upon:
           E uting an unsecured appearance bond
                                                          ) with co-signor(s)_
       ( )
                                                      (                                    -

       (Luting a secured appearance bond Lio-signor(s)
                                                  (
           and ( ) depositing in cash in the registry of the Court
                                                                                   (1               fr7 2f
                                                                           of the bail           fixed; and/or ( ) execute an
             agreement to forfeit   esignated property located at
          Local Criminal Rule 46. 1(d)(3) waived/not waived by the Court.
      ( ) Executing an appeaiance bond with approved sureties, or the deposit of cash in the full amoun
          in lieu thereof                                                                               t of the bail


                                              Additional Conditions of Release
Upon finding that release by the above methods will not by themse
                                                                   lves reasonably assure the appearance of the
defendant and the safety of other persons and the community, it is
                                                                   further ordered that the release of the defendant is
subject to the condition(s) listed below:

IT IS FURmER ORDERED that, in addition to the above, the
                                                                 following conditions are imposed:
      (‘—‘1 Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contac     t with law
           f5iment penonnel, including but not limited to, any arrest,
                                                                            questioning or  traffic stop.
     ( L4 The defendant Jiall not attempt to influence, intimidate, or injure any juror or judicial officer
           -thany witne, victim, or informant; not retaliate against any                                     , not tamper
                                                                            witne victim or informant in this case.
     (fri The defendant thall bc released into the third party custody of_            11 8//dr
            who agrees ta,.) to supervise the defendant in accordance with all
                                                                               the cenditions ofrelease, rb,) to use eveiy effort
            to assure the appearance of the defendant at all scheduled court
                                                                             proceedings, and ‘c,) to notify the court
            immediately in the event the defendant violates any conditi
                                                                        ons of   release or disappears.


             Custodian Siature                                                     Date                   I
                                                                                                                           PAGEIOF3

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     T
     7he defendapt’s travel is restrictid to ( ersey
                                                                        ( ) Other_________________________________
                                                                              inless approved by Pretrial Services (PTS).
                                                                         _________
                                                                                          _______
                                                                                                     ________,




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 (Jurrender all passports and travel documents to PTS. Do not apply
                                                                                  for new travel documents.
 (‘—‘f Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with
        substance abuse testing procedures/equipment/
 ( )    Refrain from possessing a firearm, destructive device, or other dangerous weapo
                                                                                              ns. All fireanns in any
      Jcme in which the defendant resides shall be removed by
                                                                                        and verification provided to PTS.
(—r    Mental health testing/treatment as directed by PTS,
( ) stain from the use of alcohol.
(‘ Maintain current residence or a residence approved by PTS,
( ) Maintain or actively seek employment and/or commence an education program.
( ) o contact with minors unless in the presence of a paren or ardian who is ayare of the present offense.
(Have no contact with the following individuals:
                                                                                        /W
( ) Defendant is to participate in one of the following home confinement prograk components and
                                                                                                                 abide by
      all the requirements of the program which
                                                      ( ) will or ( ) will not include electronic monitoring or other
      location verification system. You shall pay all or part of the cost of the
                                                                                    program based upon your ability to
      pay as determined by the pretrial services office or supervising officer.
        ( ) (i) Curfew. You are restricted to your residence every day ( ) from                      to             or
                  ( ) as directed by the pretrial services office or supervising offber; or
       ( ) (ii) Home Dctention You are restricted to your residence at all times except for employment;
                  education; religious services; medical, substance abuse, or mental health treatm
                                                                                                        ent; attorney
                  visits; court appc arances; court-ordered obligations; or other activities
                                                                                               as pre-approved by
                  the pretrial services office or supervising officer; or
       ( ) (iii) Home Incarceration You are restricted to your residence at all times except for medical
                  needs or treatment, religious services, and court appearances or other activit
                                                                                                  ies pre-approved
                  by the pretrial services office or supervising officer.

( ) Defendant is subject to the following computer/internet restrictions which iay include manual
      inspection and/or the insta [ation of computer monitoring software
                                                                            as deeff d appropriate by
      Pretrial Services;
      ( ) (i) No Computers defendant is prohibited from possession and/or use of computers or
                                     -




                  connected devices.
      ( )   (ii)  Compu   ter No Internet Access: defendant is permitted use of computers
                             -

                                                                                                or connected
                  devices, but is not permitted access to the Internet (World Wide Web,
                                                                                           FTP Sites, IRC
                  Servers, Instant Messaging, etc);
     ( ) (iii) Computer With Internet Access: defendant is permitted use of .omputers or connected
                 devices, and is permitted access to the Internet (World Wide Web, FTP
                                                                                           Sites, IRC Servers,
                 Instant Messaging, etc.) for purposes pre-approved by Pretrial Servbe
                                                                                          s at
                 [ j home [ J for employment purposes.
     ( ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers in
                 the home utilizcd by other residents shall be approved by Pretria
                                                                                        l Services, password
                 protected by a third party custodian approved by Pretrial Services,
                                                                                     and subject to inspection
                 for compliance by Pretrial Services.

(‘<Other:                        -                      :btt               ep
                        ;                                                     .


( ) Other:

(er:

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                                                                                                               Page 2 of 3
                                                                                   _____________
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                                         ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND
                                                                           SANCTIONS:
                       Violating any of the foregoing conditions of release may result in the immed
                                                                                                         iate issuance of a warrar
  for your arrest, a revocation of your release, an order of detention,
                                                                        a forfeiture of any bond, and a prosecution for contemp
  of court and could result in imprisonment, a fine, or both,
             While on release, ifyou commit a federal felony offense the punishment is
                                                                                             an additional prison term ofnot mor
 than ten years and for a federal misdemeanor offense the punishment is an
                                                                                additional prison term ofnot more than one year
 This sentence will be consecutive (i.e., in addition to) to any other senten
                                                                                  ce you receive.
             It is a crime punishable by up to ten years in prison, and a $250,0 fine,
                                                                                         00       or both, to: obstruct a crimina
 investigation; tamper with a witness, victim, or informant; retaliate or
                                                                               attempt to retaliate against a witness, victim, o:
 informant; or intimidate or attempt to intimidate a witness, victim, juror,
                                                                                 informant, or officer of the court. The penaltie
 for tampering, retaliation, or intimidation are significantly more serious
                                                                                if they involve a killing or attempted killing.
            If, after release, you knowingly fail to appear as the conditions
                                                                                    of release require, or to surrender to serve
 sentence, you may be prosecuted for failing to appear or surrender
                                                                        and additional punishment may be imposed. If you ar
 convicted of:
                (I) an offense punishable by death, life imprisonment, or imprisonmen
                                                                                       t for a term of fifteen years or morc
                      you will be fined not more than $250,000 or imprisoned for not more than
                                                                                                   10 years, or both;
                     —




                (2) an offense punishable by imprisonment for a term of five years or more,
                                                                                            but less than fifteen years you
                    will be fined not more than $250,000 or imprisoned for not more than
                                                                                                                            —




                                                                                            five years, or both;
                (3) any other felony— you will be fined not more than $250,000 or inpriso
                                                                                           ned not more than two years, or
                    both;
              (4) a misdemeanor you will be fined not more than $100,000 or impris
                                     —

                                                                                            oned not more than one year, or
                   both.
              A term of imprisonment imposed for failure to appear or surrender will
                                                                                        be consecutive to any other sentence
you receive. In addition, a failure to appear or surrender may result in
                                                                         the forfeiturt of any bond posted.

                                             Acknowledgment of the Defendant

              I acknowledge that I an the defendant in this case and that I am aware
                                                                                     of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and surrender
                                                                        to serve any smtence imposed. I am aware of the
penalties and sanctions set forth above.


                                                                  /
                                                                           Defendant     Sigiature
                                                                         ,4a?4/J     4/1
                                                                                City and State

                                          Directions to the United States 1
                                                                          Marshal
  The defendant is ORDERBI) released after processing.
  (      ) The United States marshal s ORDERED to keep the defendant in custody until notified by the clerk or judge
          that the defendant has posted bond and/or complied with all other conditi
                                                                                    ons for release If still in custody, the
          defendant must be produced before the appropriate judge at the time
                                                                              and place specified.
 Date:
                                                                         Ju icia Officer ‘s Signature

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                                                                          Printed name and title
(REV 1/09)
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